             Case 2:10-cr-00255-TLN Document 65 Filed 11/13/12 Page 1 of 3


1    BENJAMIN B. WAGNER
     United States Attorney
2    SAMUEL WONG
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2772
5
6
7
8                  IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
                                      )   No. 2:10-CR-255 GEB
11   UNITED STATES OF AMERICA,        )
                                      )   STIPULATION AND ORDER CONTINUING
12                Plaintiff,          )   HEARING ON DEFENDANT KIEDOCK
                                      )   KIM’S MOTION TO DISMISS CERTAIN
13        v.                          )   COUNTS OF THE INDICTMENT,
                                      )   AMENDING THE BRIEFING SCHEDULE,
14   FRENCH GULCH NEVADA MINING       )   AND EXCLUDING TIME UNDER THE
     CORPORATION, et al.,             )   SPEEDY TRIAL ACT
15                                    )
                  Defendants.         )
16                                    )
17
18
19
20        It is hereby stipulated by and between plaintiff United
21   States of America, on the one hand, and defendant Kiedock Kim, on
22   the other hand, through their respective undersigned counsel
23   that:     (1) the presently set November 16, 2012, hearing on Kim’s
24   motion to dismiss certain counts of the Indictment shall be
25   continued to January 25, 2013, at 9:00 a.m.; (2) the United
26   States’ response to Kim’s motion shall be filed by January 4,
27   2013; and (3) Kim’s reply, if any, shall be filed by January 15,
28   2013.     This continuance is requested to provide the parties time

                                          1
              Case 2:10-cr-00255-TLN Document 65 Filed 11/13/12 Page 2 of 3


1    to attempt to negotiate a pretrial resolution of the case and, in
2    the event the case is not resolved, provide the United States
3    additional time to respond to Kim’s dismissal motion.             The
4    parties have made offers and counteroffers to resolve the case
5    and, while the parties are moving closer to resolution of the
6    case, additional time is need to more fully explore a settlement
7    resolution.     The parties further stipulate and agree that
8    computation of time within which the trial of this matter must be
9    commenced shall continue to be excluded under 18 U.S.C. §
10   3161(h)(1)(D) and Local Code E due to Kim’s pending motion to
11   dismiss.
12
13   DATED:    November 9, 2012
                                         /s/ Malcolm S. Segal
14
                                         ______________________________
15                                       MALCOLM S. SEGAL
                                         Attorney for Defendant
16                                       Kiedock Kim
17
     Dated:    November 9, 2012          BENJAMIN B. WAGNER
18                                       UNITED STATES ATTORNEY
19                                       /s/ Samuel Wong
                                   By:   _______________________
20                                       SAMUEL WONG
                                         Assistant U.S. Attorney
21
22
23
24
25
26
27
28

                                           2
              Case 2:10-cr-00255-TLN Document 65 Filed 11/13/12 Page 3 of 3


1                                        ORDER
2         The Court having received, read, and considered the
3    stipulation of the parties, and good cause appearing therefrom,
4    adopts the stipulation of the parties in its entirety as its
5    order.    It is ordered that:      (1) the presently set November 16,
6    2012, hearing on Kim’s motion to dismiss certain counts of the
7    Indictment shall be continued to January 25, 2013, at 9:00 a.m.;
8    (2) the United States’ response to Kim’s motion shall be filed by
9    January 4, 2013; and (3) Kim’s reply, if any, shall be filed by
10   January 15, 2013.
11        It is further ordered that computation of time within which
12   the trial of this matter must be commenced shall continue to be
13   excluded under 18 U.S.C. § 3161(h)(1)(D) and Local Code E due to
14   Kim’s pending motion to dismiss through the conclusion of the
15   hearing on, or other prompt disposition of, such motion.
16   Dated:    November 13, 2012
17
18                                    GARLAND E. BURRELL, JR.
19                                    Senior United States District Judge

20
21
22
23
24
25
26
27
28

                                           3
